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                            UNITED STATES DISTRICT COURT FOR
                            THE WESTERN DISTRICT OF NEW YORK

                                 CASE NO: 1:20-mc-00040-LJV

    ANTONIO CABALLERO,

           Plaintiff,

    vs.

    FUERZAS ARMADAS
    REVOLUCIONARIAS DE COLOMBIA, a/k/a
    FARC-EP a/k/a REVOLUTIONARY ARMED
    FORCES OF COLOMBIA; and THE NORTE
    DE VALLE CARTEL,

          Defendants.
    ___________________________________/

                                 ANTONIO CABALLERO’S
                        THIRD NOTICE OF SUPPLEMENTAL AUTHORITY

          Plaintiff Antonio Caballero (“Caballero”), by and through undersigned counsel, hereby

files this Third Notice of Supplemental Authority (the “Notice”) in further support of Caballero’s

opposition [D.E. 90] to Petroleos de Venezuela, S.A. (“PDVSA”) and its subsidiaries’1 motion to

quash and vacate [D.E. 85]. Attached as Exhibit 1 is the recently issued Report and

Recommendation (the “R&R”) of United States Magistrate Judge Sarah Netburn in Stansell, et al.

v. Revolutionary Armed Forces of Colombia, et al., No. 16-MC-00405 (LGS) (SN) (S.D.N.Y. Mar.

29, 2022), D.E. 443, addressing certain motions and/or crossclaims filed by Caballero and another

group of Terrorism Risk Insurance Act (“TRIA”) judgment creditors, the “Stansells” and the

“Pescatores” (collectively, “STPE”).




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  The specific PDVSA subsidiaries are identified in D.E. 85. PDVSA, together with its
subsidiaries, are referred to as the “PDVSA Entities.”
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       Three federal judges have confirmed Caballero’s status as a TRIA judgment creditor under

his Anti-Terrorism Act (“the ATA”) judgment. On May 20, 2020, the Honorable Judge K. Michael

Moore of the United States District Court for the Southern District of Florida (the “ATA District

Court”) entered a final judgment in favor of Caballero under the ATA (the “ATA Final Judgment).

See D.E. 1 at 2. On December 29, 2021, the Honorable Judge Holcomb of the United States

District Court for the Central District of California confirmed Caballero’s ATA Final Judgment.

See Not. of Supp. Authority, D.E. 95 (notifying this Court of Judge Holcomb’s Order). Yesterday,

the Honorable Magistrate Judge Sarah Netburn of the United States District Court for the Southern

District of New York likewise confirmed Caballero’s ATA Final Judgment.

       The attached R&R squarely rejected the arguments raised by STPE in that court (i.e.,

substantially similar arguments raised by the PDVSA Entities here) attacking Caballero’s ATA

Final Judgment under the theory that the ATA District Court lacked subject matter jurisdiction:

               Accordingly, the Court finds no reason to challenge the Caballero III
       court’s subject matter jurisdiction. Because subject matter jurisdiction is
       available under 28 U.S.C. § 1331, the Court need not consider whether it is
       separately available under § 2333(a). Even after confirming jurisdiction based
       on 28 U.S.C § 1331, the Court finally considers whether its subject matter
       jurisdiction is statutorily limited to cases where each of the elements of a §
       2333(a) claim—such as the U.S. national status of a claimant—are satisfied.

       ….

              Nothing in § 2333(a) contains this clear jurisdictional limitation.
       …

              The Stansells and Pescatores argue unpersuasively that this interpretation
       renders § 2333(a) absurd.

       …

               There is nothing particularly absurd about this. The intimation is that a
       naturalized foreigner is better treated because they have more time to bring an ATA
       claim than someone who is an American national. Yet, the party arguably facing
       the most stinging injustice is the child without American citizenship who would

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       be unable to use the ATA to sue the terrorists for the harms he has suffered from
       the death of his mother. See, e.g., Lelchook v. Islamic Republic of Iran, No. 16-
       cv-7078 (ILG), 2020 WL 12656283, at *4 (E.D.N.Y. Nov. 23, 2020) (“The ATA
       does not include language authorizing foreign nationals to bring ATA claims in a
       U.S. court for their own injuries caused by an act of international terrorism.”)

               Certainly, if that child eventually became an American, he would have more
       time from the date of the incident than the child who started as a citizen, but given
       the challenge of suing as years pass (fading memory, lost witnesses, missing
       documents) it does not seem outrageous that they have more time to remedy these
       gaps. The American child, by contrast, could sue the very day the attack occurs or
       anytime in the next decade. There is no absurdity in this result, much less absurdity
       so significant that the Court need read jurisdictional significance into § 2333(a).

See Exhibit 1 at 16-19 (footnotes omitted) (emphasis added).

       The attached R&R further squarely rejected the arguments raised by STPE in that court

(i.e., substantially similar arguments raised by the PDVSA Entities here) attacking Caballero’s

ATA Final Judgment under the theory that the ATA District Court lacked personal jurisdiction

over the FARC:

               The Stansells and Pescatores lack standing to challenge Caballero III for
       lack of personal jurisdiction.

       …

               The individual nature of this right limits who may challenge a judgment
       for lack of personal jurisdiction. A “plaintiff generally must assert his own legal
       rights and interests, and cannot rest his claim to relief on the legal rights or interests
       of third parties.” Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 955
       (1984) (quoting Warth v. Seldin, 422 U.S. 490, 499 (1975)) (internal quotation
       omitted). Thus, the right to assert or waive the defense of personal jurisdiction
       rests with the Caballero III defendants: FARC and the NDVC.

       …

                It is true that “before a court grants a motion for default judgment, it may
       first assure itself that it has personal jurisdiction over the defendant . . . .” Sinoying
       Logistics Pte Ltd. v. Yi Da Xin Trading Corp., 619 F.3d 207, 213 (2d Cir. 2010).
       “[T]he Second Circuit has noted” however, ‘that it is an open question ‘whether a
       district court must investigate its personal jurisdiction over a defendant before
       entering a default judgment . . . .’” Hood v. Ascent Med. Corp., No. 13-cv-628
                                                   3
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       (RWS), 2016 WL 3453656, at *1 (S.D.N.Y. June 20, 2016), aff’d, 691 F. App’x 8
       (2d Cir. 2017) (quoting City of New York v. Mickalis Pawn Shop, LLC, 645 F.3d
       114, 133 (2d Cir. 2011)) (emphasis in original).
                But, the Caballero III court has, even if implicitly, already satisfied itself
       that it had jurisdiction to enter the default judgment. C.f., Nemaizer v. Baker, 793
       F.2d 58, 65 (2d Cir. 1986) (“When a district court has not explicitly noted why it
       assumed jurisdiction over a suit, appellate courts will independently examine the
       record to determine whether a reasonable basis existed for the lower court’s implicit
       finding that it had jurisdiction.”) What the Stansells and Pescatores ask then, is
       that this Court overturn Caballero III’s personal jurisdiction determination.
       They do not have standing to make this challenge.

See Exhibit 1 at 20-22 (emphasis added).


DATED this 30th day of March 2022.


                                              Respectfully Submitted

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                            CERTIFICATE OF SERVICE
     We hereby certify that the foregoing document was filed this 30th day of March 2022 via

CM/ECF.

                                                /s/ Joseph I. Zumpano
                                                Joseph I. Zumpano




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